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                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


THERA HAMILTON,                        )
                                       )
       Plaintiff,                      )
                                       )     Civil Action Number
vs.                                    )      2:14-cv-02008-AKK
                                       )
MIDLAND FUNDING LLC, et al.,           )
       Defendants.                     )
                                       )

                                   ORDER

       Consistent with the memorandum opinion, doc. 53, the defendants’ motion

for summary judgment, doc. 35, is GRANTED. The Motion to Strike Doc. 45-5,

doc. 50, is MOOT. This case is DISMISSED WITH PREJUDICE. Costs taxed

against the plaintiff.


       DONE the 30th day of January, 2017.


                                    _________________________________
                                             ABDUL K. KALLON
                                      UNITED STATES DISTRICT JUDGE
